                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

BETHANY ARMSTRONG,                         )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )      Civil Action Number 3:19-CV-653
                                           )      District Judge Eli J. Richardson
CORECIVIC, INC.,                           )      Magistrate Judge Joe B. Brown
                                           )
       Defendant.                          )


                                NOTICE OF APPEARANCE


       Joseph F. Welborn, III, of Butler Snow LLP, The Pinnacle at Symphony Place, 150 Third

Avenue, South, Suite 1600, Nashville, Tennessee 37201, hereby enters his appearance as counsel

for Defendant CoreCivic, Inc.

                                                  Respectfully submitted,


                                                  /s/ Joseph F. Welborn, III
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                                CERTIFICATE OF SERVICE

        I certify that a true and exact copy of the foregoing has been served upon Filing Users via
the electronic filing system and on other counsel via U. S. Mail, first-class postage prepaid, this
August 26, 2019, on the following:

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                                                            /s/ Joseph F. Welborn, III
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